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        EXHIBIT 8
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NEWS

Half of Americans Want Prince
Harry's Visa Reviewed After
Drugs Admission
BY JAMES CRAWFORD-SMITH ON 4/11/23 AT 12:03 PM EDT
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More than half of of Americans believe that Prince Harry's visa should be
reviewed by the Department of Homeland Security in light of his admission of
drug experimentation in his memoir, despite a similar number saying he was
right to include it, a new poll has revealed.
The poll, undertaken exclusively for Newsweek by strategists Redfield &
Wilton, showed that 54 percent of U.S. adults from a sample of 1,500
registered voters believed that the prince's visa should be reviewed after
he admitted to using cocaine and psychedelics recreationally in his
memoir, Spare.
Asked "Given his admission in his book Spare that he previously consumed
drugs, should Prince Harry's visa application be reviewed by the Department
of Homeland Security?" 54 percent of respondents said "yes," while 29 percent
said "no" and 17 percent "don't know."
The result comes as conservative think tank The Heritage Foundation
is actively lobbying in Washington D.C. to have the royal's visa application
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made public to see if he informed immigration officials about his history with
drugs.
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Prince Harry is photographed in London on March 27, 2023. Conservative
think tank The Heritage Foundation is calling for the prince's visa application
to be made public.KARWAI TANG/WIREIMAGE

Those applying to enter the U.S. are asked to disclose any personal violations
of laws relating to the possession, use or distribution of illegal drugs. Those
who do so can be turned away at the border or denied residency.
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Mike Howell, director of The Heritage Foundation's Oversight Project, who
filed the request to view Harry's visa application, told the Daily Mail in March:
"This request is in the public interest in light of the potential revocation of
Prince Harry's visa for illicit substance use and further questions regarding the
Prince's drug use and whether he was properly vetted before entering the
United States."

Despite the majority of Americans believing Harry's visa should be reviewed, a
similar percentage said they felt the prince was right to detail his history with
substance use in his memoir, which was billed as a "raw" and "unflinching"
look at his life, not as a prince but as a "man."

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Asked the question: "Was Prince Harry right to reveal details of his personal
drug use in his book Spare?" 51 percent of respondents said "yes" opposed to
just 19 percent who said "no" and 30 percent who responded "don't know."
The prince spoke frankly about his drug use and experimentation in Spare as a
means of disassociation while processing the grief of losing his mother at a
young age and handling the pressures of being a figure of intense public
interest.
READ MORE
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          debate
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Writing of the time of Queen Elizabeth's Golden Jubilee in 2002, the prince
wrote: "I had been doing cocaine around this time. At someone's country
house, during a shooting weekend, I'd been offered a line, and I'd done a few
more since. It wasn't much fun, and it didn't make me particularly happy, as it
seemed to make everyone around me, but it did make me feel different, and
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that was the main goal. Feel. Different. I was a deeply unhappy seventeen-
year-old boy willing to try almost anything that would alter the status quo."

He also went on to say he used marijuana and the psychedelic ayahuasca,
which he found more beneficial.

Speaking in an interview to promote Spare with the trauma expert Dr. Gabor
Mate, Harry expanded on his cocaine use, saying: "(Cocaine) didn't do
anything for me, it was more a social thing and gave me a sense of belonging
for sure. I think it probably also made me feel different to the way I was
feeling, which was kind of the point. Marijuana is different, that actually really
did help me."
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Copies of Prince Harry's memoir Spare are photographed on publication day,
January 10, 2023. The prince made a number of revelations about his
experimentation with drugs in the book.SCOTT OLSON/GETTY IMAGES

Harry faced criticism for appearing in part, to glamorize or promote drug use
or experimentation through his book and media appearances.

British drug education advocate and founder of the DSM Foundation, Fiona
Spargo-Mabbs, said that Harry's revelations could prove harmful to
impressionable young people.

"It is understandable that when people are struggling, they look around for
ways to cope," she told the U.K.'s ITV News. "This is particularly true of young
people, an increasing number of whom we know have been struggling with
their mental health during and since COVID, yet who are unable to access
support services because they are so stretched.

"Given this context, Prince Harry's comments about using drugs as a way of
dealing with past trauma could easily be misconstrued as being true across
the board."
Newsweek approached representatives of Prince Harry via email for
comment.
James Crawford-Smith is Newsweek's royal reporter based in London. You can
find him on Twitter at @jrcrawfordsmith and read his stories on
Newsweek's The Royals Facebook page.
Do you have a question about King Charles III, William and Kate, Meghan and
Harry, or their family that you would like our experienced royal
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